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                         IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                     WAYCROSS DIVISION



UNITED STATES OF AMERICA,                        *

               Plaintiff,                        *

 vs.                                             *              CASE NO.: 5:21CR09

MARIA PATRICIO,                                  *

               Defendant.                        *

                                  MOTION TO DISCLOSE
                               EXPERT WITNESS TESTIMONY

               COMES NOW the defendant, MARIO PATRICIO, and files this her motion to

disclose expert witness testimony, pursuant to Rule 16(a)(1)(G) of the Federal Rules of Criminal

Procedure, as follows:

               1.        The defendant requests that the Government disclose a written summary of

expert opinion testimony the Government intends to use under Rules 702, 703, or 705 of the

Federal Rules of Evidence during its Case in chief at trial.

               2.        The defendant requests that the summary disclose the witnesses' opinions

and the basis and reasons therefore and the witnesses' qualifications.

               WHEREFORE, the defendant moves the Court to inquire into her Motion, to grant

same, and for such other relief as the Court deems proper and just.

               Respectfully submitted this 24th day of February, 2022.
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                                s/ Juanita M. Holsey
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                        IN THE UNITED STATES DISTRICT COURT


                      FOR THE SOUTHERN DISTRICT OF GEORGIA

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UNITED STATES OF AMERICA,                        *

                Plaintiff,                       *

  vs.                                            *             CASE NO.: 5:21CR09

MARIA PATRICIO,                                  *

                Defendant.                       *

                                  CERTIFICATE OF SERVICE

                This is to certify that I have on this day served all the parties in this case in

accordance with the directives from the Court Notice of Electronic Filing (“NEF”) which was

generated as a result of electronic filing.

         Submitted this 24th day of February, 2022.


                                                 s/ Juanita M. Holsey
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